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CDC COVID-19 Vaccination Program
Provider Agreement
Please complete Sections A and B of this form as follows:
The Centers for Disease Control and Prevention (CDC) greatly appreciates your organization’s (Organization) participation in
the CDC COVID-19 Vaccination Program. Your Organization’s chief medical officer (or equivalent) and chief executive officer
(or chief fiduciary)—collectively, Responsible Officers—must complete and sign the CDC COVID-19 Vaccination Program
Provider Requirements and Legal Agreement (Section A). CDC COVID-19 Vaccination Program Provider Profile Information
(Section B) must be completed for each vaccination Location covered under the Organization listed in Section A.


Section A. COVID-19 Vaccination Program Provider Requirements and Legal
Agreement
 ORGANIZATION IDENTIFICATION
 Organization’s legal name:


 Number of affiliated vaccination locations covered by this agreement: ______

 Organization telephone number:                   Email (must be monitored and will serve as dedicated contact method for the
                                                  COVID-19 Vaccination Program):


 Organization address:


 RESPONSIBLE OFFICERS
 For the purposes of this agreement, in addition to Organization, Responsible Officers named below will also be
 accountable for compliance with the conditions specified in this agreement. The individuals listed below must
 provide their signature after reviewing the agreement requirements.
 Chief Medical Officer (or Equivalent) Information
 Last name                                        First name                                Middle initial

 Title                                            Licensure (state and number)

 Telephone number:                                              Email:

 Address:

 Chief Executive Officer (or Chief Fiduciary) Information
 Last name                                        First name                                Middle initial

 Telephone number:                                Email:

 Address:
                                                                                                             Exhibit A
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         CDC COVID-19 Vaccination Program Provider Agreement
 AGREEMENT REQUIREMENTS
 I understand this is an agreement between Organization and CDC. This program is a part of collaboration under
 the relevant state, local, or territorial immunization’s cooperative agreement with CDC.
 To receive one or more of the publicly funded COVID-19 vaccines (COVID-19 Vaccine), constituent products,
 and ancillary supplies at no cost, Organization agrees that it will adhere to the following requirements:
         Organization must administer COVID-19 Vaccine in accordance with all requirements and
   1.
         recommendations of CDC and CDC’s Advisory Committee on Immunization Practices (ACIP). 1
         Within 24 hours of administering a dose of COVID-19 Vaccine and adjuvant (if applicable), Organization
         must record in the vaccine recipient’s record and report required information to the relevant state,
         local, or territorial public health authority. Details of required information (collectively, Vaccine-
         Administration Data) for reporting can be found on CDC’s website. 2

        Organization must submit Vaccine-Administration Data through either (1) the immunization
  2.
        information system (IIS) of the state and local or territorial jurisdiction or (2) another system designated
        by CDC according to CDC documentation and data requirements.2

        Organization must preserve the record for at least 3 years following vaccination, or longer if required by
        state, local, or territorial law. Such records must be made available to any federal, state, local, or
        territorial public health department to the extent authorized by law.
        Organization must not sell or seek reimbursement for COVID-19 Vaccine and any adjuvant, syringes,
  3.    needles, or other constituent products and ancillary supplies that the federal government provides
        without cost to Organization.
        Organization must administer COVID-19 Vaccine regardless of the vaccine recipient’s ability to pay
  4.
        COVID-19 Vaccine administration fees.
        Before administering COVID-19 Vaccine, Organization must provide an approved Emergency Use
  5.    Authorization (EUA) fact sheet or vaccine information statement (VIS), as required, to each vaccine
        recipient, the adult caregiver accompanying the recipient, or other legal representative.
  6.    Organization’s COVID-19 vaccination services must be conducted in compliance with CDC’s Guidance
        for Immunization Services During the COVID-19 Pandemic for safe delivery of vaccines.3
        Organization must comply with CDC requirements for COVID-19 Vaccine management. Those
        requirements include the following:
        a) Organization must store and handle COVID-19 Vaccine under proper conditions, including
            maintaining cold chain conditions and chain of custody at all times in accordance with the
            manufacturer’s package insert and CDC guidance in CDC’s Vaccine Storage and Handling Toolkit 4,
  7.
            which will be updated to include specific information related to COVID-19 Vaccine;
        b) Organization must monitor vaccine-storage-unit temperatures at all times using equipment and
            practices that comply with guidance located in CDC’s Vaccine Storage and Handling Toolkit4;
        c) Organization must comply with each relevant jurisdiction’s immunization program guidance for
            dealing with temperature excursions;

This agreement expressly incorporates all recommendations, requirements, and other guidance that this
agreement specifically identifies through footnoted weblinks. Organization must monitor such identified
guidance for updates. Organization must comply with such updates.
1 https://www.cdc.gov/vaccines/hcp/acip-recs/index.html
2 https://www.cdc.gov/vaccines/programs/iis/index.html
3 https://www.cdc.gov/vaccines/pandemic-guidance/index.html
4 https://www.cdc.gov/vaccines/hcp/admin/storage-handling.html


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         CDC COVID-19 Vaccination Program Provider Agreement
        d) Organization must monitor and comply with COVID-19 Vaccine expiration dates; and
        e) Organization must preserve all records related to COVID-19 Vaccine management for a minimum of
            3 years, or longer if required by state, local, or territorial law.
        Organization must report the number of doses of COVID-19 Vaccine and adjuvants that were unused,
   8.
        spoiled, expired, or wasted as required by the relevant jurisdiction.
        Organization must comply with all federal instructions and timelines for disposing COVID-19 vaccine
   9.
        and adjuvant, including unused doses. 5
        Organization must report moderate and severe adverse events following vaccination to the Vaccine
  10.
        Adverse Event Reporting System (VAERS). 6
        Organization must provide a completed COVID-19 vaccination record card to every COVID-19 Vaccine
  11. recipient, the adult caregiver accompanying the recipient, or other legal representative. Each COVID-19
        Vaccine shipment will include COVID-19 vaccination record cards.
        a) Organization must comply with all applicable requirements as set forth by the U.S. Food and Drug
            Administration, including but not limited to requirements in any EUA that covers COVID-19 Vaccine.
  12.
        b) Organization must administer COVID-19 Vaccine in compliance with all applicable state and
            territorial vaccination laws.
 By signing this form, I certify that all relevant officers, directors, employees, and agents of Organization
 involved in handling COVID-19 Vaccine understand and will comply with the agreement requirements listed
 above and that the information provided in sections A and B is true.

 The above requirements are material conditions of payment for COVID-19 Vaccine-administration claims
 submitted by Organization to any federal healthcare benefit program, including but not limited to Medicare
 and Medicaid, or submitted to any HHS-sponsored COVID-19 relief program, including the Health Resources &
 Services Administration COVID-19 Uninsured Program. Reimbursement for administering COVID-19 Vaccine is
 not available under any federal healthcare program if Organization fails to comply with these requirements
 with respect to the administered COVID-19 Vaccine dose. Each time Organization submits a reimbursement
 claim for COVID-19 Vaccine administration to any federal healthcare program, Organization expressly certifies
 that it has complied with these requirements with respect to that administered dose.

 Non-compliance with the terms of Agreement may result in suspension or termination from the CDC COVID-19
 Vaccination Program and criminal and civil penalties under federal law, including but not limited to the False
 Claims Act, 31 U.S.C. § 3729 et seq., and other related federal laws, 18 U.S.C. §§ 1001, 1035, 1347, 1349.

 By entering Agreement, Organization does not become a government contractor under the Federal Acquisition
 Regulation.

 Coverage under the Public Readiness and Emergency Preparedness (PREP) Act extends to Organization if it
 complies with the PREP Act and the PREP Act Declaration of the Secretary of Health and Human Services. 7



5 The disposal process for remaining unused COVID-19 Vaccine and adjuvant may be different from the process

for other vaccines; unused vaccines must remain under storage and handling conditions noted in Item 7 until CDC
provides disposal instructions; website URL will be made available.
6 https://vaers.hhs.gov/reportevent.html
7 See Pub. L. No. 109-148, Public Health Service Act §§ 319F-3 and 319F-4, 42 U.S.C. § 247d-6d and 42 U.S.C. §

247d-6e; 85 Fed. Reg. 15,198, 15,202 (March 17, 2020).
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          CDC COVID-19 Vaccination Program Provider Agreement
 Chief Medical Officer (or Equivalent)
 Last name                                      First name                                  Middle initial

 Signature:                                                                                 Date:

 Chief Executive Officer (or Chief Fiduciary)
 Last name                                      First name                                  Middle initial

 Signature:                                                                                 Date:

 For official use only:
 VTrckS ID for this Organization, if applicable: __________

 Vaccines for Children (VFC) PIN, if applicable: __________   Other PIN (e.g., state, 317): __________

 IIS ID, if applicable: __________

 Unique COVID-19 Organization ID (Section A)*: ___________

 *The jurisdiction’s immunization program is required to create a unique COVID-19 ID for the organization named in Section A that
 includes the awardee jurisdiction abbreviation (e.g., an organization located in Georgia could be assigned “GA123456A”). This ID is
 needed for CDC to match Organizations (Section A) with one or more Locations (Section B). These unique identifiers are required even
 if there is only one location associated with an organization.




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 Section B. CDC COVID-19 Vaccination Program Provider Profile Information
 Please complete and sign this form for your Organization location. If you are enrolling on behalf of one or more
 other affiliated Organization vaccination locations, complete and sign this form for each location. Each
 individual Organization vaccination location must adhere to the requirements listed in Section A.

ORGANIZATION IDENTIFICATION FOR INDIVIDUAL LOCATIONS
Organization location name:                       Will another Organization location order COVID-19
                                                  vaccine for this site?
                                                         Yes; provide Organization name:
                                                         ____________________________________
                                                         No

CONTACT INFORMATION FOR LOCATION’S PRIMARY COVID-19 VACCINE COORDINATOR
Last name:                  First name:           Middle initial:

Telephone:                                               Email:
CONTACT INFORMATION FOR LOCATION’S BACK-UP COVID-19 VACCINE COORDINATOR
Last name:                  First name:            Middle initial:
Telephone:                             Email:
ORGANIZATION LOCATION ADDRESS FOR RECEIPT OF COVID-19 VACCINE SHIPMENTS
Street address 1:           Street address 2:

City:                                     County:                         State:               ZIP:

Telephone:                                                                Fax:
ORGANIZATION ADDRESS OF LOCATION WHERE COVID-19 VACCINE WILL BE ADMINISTERED (IF DIFFERENT FROM
RECEIVING LOCATION)
Street address 1:            Street address 2:

City:                                 County:                             State:                            ZIP:
Telephone:                                                                Fax:
DAYS AND TIMES VACCINE COORDINATORS ARE AVAILABLE FOR RECEIPT OF COVID-19 VACCINE SHIPMENTS
     Monday             Tuesday          Wednesday             Thursday              Friday
AM:               AM:                AM:                  AM:                 AM:
PM:               PM:                PM:                  PM:                 PM:
For official use only:
VTrckS ID for this location, if applicable: _________                Vaccines for Children (VFC) PIN, if applicable: _________

IIS ID, if applicable: __________    Unique COVID-19 Organization ID (from Section A): ___________        Unique Location ID**: _________


**The jurisdiction’s immunization program is required to create an additional unique Location ID for each location completing Section B. The
number will include the awardee jurisdiction abbreviation. For example, if an organization (Section A) in Georgia (e.g., GA123456A), has
three locations (main location plus two additional) completing section B, they could be numbered as GA123456B1, GA123456B2, and
GA123456B3.



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    CDC COVID-19 Vaccination Program Provider Profile Information
COVID-19 VACCINATION PROVIDER TYPE FOR THIS LOCATION (SELECT ONE)
        Commercial vaccination service provider                                Pharmacy – chain
        Corrections/detention health services                                  Pharmacy – independent
        Health center – community (non-Federally Qualified                     Public health provider – public health clinic
        Health Center/non-Rural Health Clinic)                                 Public health provider – Federally Qualified Health
        Health center – migrant or refugee                                     Center
        Health center – occupational                                           Public health provider – Rural Health Clinic
        Health center – STD/HIV clinic                                         Long-term care – nursing home, skilled nursing
        Health center – student                                                facility, federally certified
        Home health care provider                                              Long-term care – nursing home, skilled nursing
        Hospital                                                               facility, non-federally certified
        Indian Health Service                                                  Long-term care – assisted living
        Tribal health                                                          Long-term care – intellectual or developmental
        Medical practice – family medicine                                     disability
        Medical practice – pediatrics                                          Long-term care – combination (e.g., assisted living
                                                                               and nursing home in same facility)
        Medical practice – internal medicine
                                                                               Urgent care
        Medical practice – OB/GYN
                                                                               Other (Specify: __________)
        Medical practice – other specialty
SETTING(S) WHERE THIS LOCATION WILL ADMINISTER COVID-19 VACCINE (SELECT ALL THAT APPLY)
        Childcare or daycare facility                                          Pharmacy
        College, technical school, or university                               Public health clinic (e.g., local health department)
        Community center                                                       School (K – grade 12)
        Correctional/detention facility                                        Shelter
        Health care provider office, health center, medical                    Temporary or off-site vaccination clinic – point of
        practice, or outpatient clinic                                         dispensing (POD)
        Hospital (i.e., inpatient facility)                                    Temporary location – mobile clinic
        In-home                                                                Urgent care facility
        Long-term care facility (e.g., nursing home, assisted                  Workplace
        living, independent living, skilled nursing)                           Other (Specify: __________)

APPROXIMATE NUMBER OF PATIENTS/CLIENTS ROUTINELY SERVED BY THIS LOCATION
Number of children 18 years of age and younger: ________ (Enter “0” if the location does not serve this age group.)
                                                  Unknown

Number of adults 19 – 64 years of age:                     ________ (Enter “0” if the location does not serve this age group.)
                                                             Unknown

Number of adults 65 years of age and older:ii             ________ (Enter “0” if the location does not serve this age group.)
                                                            Unknown
Number of unique patients/clients seen per week, on average: _________
   Unknown
   Not applicable (e.g., for commercial vaccination service providers)
INFLUENZA VACCINATION CAPACITY FOR THIS LOCATION
Number of influenza vaccine doses administered during the peak week of the 2019–20 influenza season:
__________ (Enter “0” if no influenza vaccine doses were administered by this location in 2019-20)
   Unknown

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     CDC COVID-19 Vaccination Program Provider Profile Information
POPULATION(S) SERVED BY THIS LOCATION (SELECT ALL THAT APPLY)
     General pediatric population
     General adult population
     Adults 65 years of age and older
     Long term care facility residents (nursing home, assisted living, or independent living facility)
     Health care workers
     Critical infrastructure/essential workers (e.g., education, law enforcement, food/agricultural workers, fire
     services)
     Military – active duty/reserves
     Military – veteran
     People experiencing homelessness
     Pregnant women
     Racial and ethnic minority groups
     Tribal communities
     People who are incarcerated/detained
     People living in rural communities
     People who are under-insured or uninsured
     People with disabilities
     People with underlying medical conditions∗ that are risk factors for severe COVID-19 illness
     Other people at higher-risk for COVID-19 (Specify: _______)
DOES YOUR ORGANIZATION CURRENTLY REPORT VACCINE ADMINISTRATION DATA TO THE STATE, LOCAL, OR
TERRITORIAL IMMUNIZATION INFORMATION SYSTEM (IIS)?
        Yes [List IIS Identifier: ____________________]
        No
        Not applicable
If “No,” please explain planned method for reporting vaccine administration data to the jurisdiction’s IIS or other
designated system as required:
If “Not applicable,” please explain:
ESTIMATED NUMBER OF 10-DOSE MULTIDOSE VIALS (MDVs) YOUR LOCATION IS ABLE TO STORE DURING PEAK
VACCINATION PERIODS (E.G., DURING BACK-TO-SCHOOL OR INFLUENZA VACCINE SEASON) AT THE FOLLOWING
TEMPERATURES:
Refrigerated (2°C to 8°C):                 No capacity                  Approximately _____ additional 10-dose MDVs
Frozen (-15° to -25°C):                    No capacity                  Approximately _____ additional 10-dose MDVs
Ultra-frozen (-60° to -80°C):              No capacity                  Approximately _____ additional 10-dose MDVs
STORAGE UNIT DETAILS FOR THIS LOCATION
List brand/model/type of storage units to be used for               I attest that each unit listed will maintain the appropriate
storing COVID-19 vaccine at this location:                          temperature range indicated above: (please sign and
1. Example: CDC & Co/Red series two-door/refrigerator               date)
2.
3.                                                                  Medical/pharmacy director or location’s vaccine coordinator signature
4.
5.
                                                                    Date


 ∗
     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-increased-risk.html

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   CDC COVID-19 Vaccination Program Provider Profile Information
PROVIDERS PRACTICING AT THIS FACILITY (additional spaces for providers at end of form)
Instructions: List below all licensed healthcare providers at this location who have prescribing authority (i.e.,
MD, DO, NP, PA, RPh).
                    Provider Name                              Title                    License No.




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